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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


FRANKIE JEAN COLLINS, as
Biological Daughter and on behalf of the Wrongful
Death Beneficiaries of ELNORA PARRETT, Deceased,

       Plaintiffs,

vs.                                                  Civil Action No. 2:12-cv-02953-JPM-tmp


SOUTH PARKWAY ASSOCIATES, L.P. d/b/a
PARKWAY HEALTH & REHABILITATION CENTER,

       Defendant.


                     STIPULATION OF DISMISSAL WITH PREJUDICE


       Come now Plaintiff, Frankie Jean Collins, and Defendant, South Parkway Associates,

L.P., pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, and hereby

stipulate that the matters in controversy between them have been compromised and settled such

that the instant cause should be dismissed, with prejudice, with Defendant being responsible for

the statutory court costs assessed by the Clerk of the Circuit Court of Tennessee for the Thirtieth

Judicial District at Memphis in connection with the initial filing of this lawsuit, but with each

party being responsible for its own discretionary costs under Rule 54 of both the Federal and

Tennessee Rules of Civil Procedure.

                                                    /s/ Parke S. Morris
                                                 Parke S. Morris (BPR #018145)
                                                 50 Frazier Avenue, Suite 300
                                                 Chattanooga, Tennessee 37405
                                                 (423) 444-9125

                                                 Attorney for Plaintiffs
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                                                    /s/ Stephen D. Crawley
                                                 Stephen D. Crawley (BPR #11454)
                                                 130 North Court Avenue
                                                 Memphis, Tennessee 38103
                                                 (901) 524-5000

                                                 Attorney for Defendant
                                                 South Parkway Associates, L.P.


                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing has been served on Parke S. Morris, Esq., 50
Frazier Avenue, Suite 300, Chattanooga, Tennessee 37405, via U.S. Mail, postage prepaid, on
this the 12th day of June, 2013.


                                                    /s/ Stephen D. Crawley
                                             Stephen D. Crawley




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